 Case 3:18-cv-01157-BJD-PDB Document 4 Filed 11/05/18 Page 1 of 4 PageID 19




                              UNITED STATES DISTRICT COURT

           FOR THE MIDDLE DISTRICT OF FLORIDA – JACKSONVILLE DIVISION

STEPHEN KNUTH,                                        CASE NO.:    3:18-cv-01157-BJD-PDB

       Plaintiff,

v.

WELLS FARGO BANK, N.A.,

       Defendant.


             JOINT STIPULATION TO ARBITRATE CLAIMS AND STAY ACTION


       COME NOW Plaintiff Stephen Knuth (“Plaintiff”) and Defendant Wells Fargo Bank,

N.A. (“Wells Fargo”) (Plaintiff and Wells Fargo shall collectively be referred to as the

“Parties”), by and through their undersigned counsel, and hereby submit this Joint Stipulation to

Arbitrate Claims and Stay Action pending the conclusion of arbitration, respectfully stating as

follows:

       1.      Plaintiff commenced this action by filing a Complaint against Wells Fargo in the

United States District Court for the Middle District of Florida – Jacksonville Division, Case

Number 3:18-cv-01157-BJD-PDB on or about September 26, 2018. See Doc. No. 1, Complaint.

       2.      Thereafter, Plaintiff served Wells Fargo with his Complaint on October 15, 2018

and Wells Fargo’s Response is due November 5, 2018.

       3.      The Parties, through their respective counsel of record, stipulate and agree to the

terms as follows:

               a.       The parties shall submit to binding non-judicial arbitration;



                                                  1
                    JOINT STIPULATION TO ARBITRATE CLAIMS AND STAY ACTION
WBD (US) 44884781v1
 Case 3:18-cv-01157-BJD-PDB Document 4 Filed 11/05/18 Page 2 of 4 PageID 20



               b.       Prior to submission to binding non-judicial arbitration, the parties have

                        agreed that Plaintiff shall be permitted to subpoena phone records of

                        Plaintiff’s cell-phone carrier;

               c.       The arbitration shall be conducted through AAA;

               d.       That the case be stayed pending arbitration, and that each Party shall bear

       its own attorneys’ fees and costs as to this federal court action;

               e.       In all other respects, both parties explicitly agree to arbitrate this dispute

       consistent with the rules of the dispute forum.

       4.      The Parties therefore respectfully request that this Court enter the Agreed Order,

which orders that all of the claims in this lawsuit be submitted to final, binding arbitration and

that this lawsuit be stayed.

       Respectfully submitted this 5th day of November, 2018.


DATED: November 5, 2018                         Respectfully submitted,

                                                 /s/ Artin Betpera
                                                 Artin Betpera
                                                 Florida State Bar No.: 49535
                                                 Womble Bond Dickinson (US) LLP
                                                 3200 Park Center Drive, Suite 700
                                                 Costa Mesa, CA 92626
                                                 Telephone: (714) 557-3800
                                                 Facsimile: (714) 557-3347
                                                 Artin.Betpera@wbd-us.com

                                                 Attorneys for Defendant,
                                                 Wells Fargo Bank, N.A.




                                                   2
                    JOINT STIPULATION TO ARBITRATE CLAIMS AND STAY ACTION
WBD (US) 44884781v1
 Case 3:18-cv-01157-BJD-PDB Document 4 Filed 11/05/18 Page 3 of 4 PageID 21



                                         /s/ Kevin Rajabalee
                                         Kevin Rajabalee
                                         KR LEGAL, P.A.
                                         3340 Hollywood Boulevard, Suite 415
                                         Hollywood, FL 33021
                                         Telephone: (954) 667-3096
                                         Facsimile: (954) 942-5272
                                         Kevin@krlegal.net

                                         Attorney for Plaintiff,
                                         Stephen Knuth




                                           3
                 JOINT STIPULATION TO ARBITRATE CLAIMS AND STAY ACTION
WBD (US) 44884781v1
 Case 3:18-cv-01157-BJD-PDB Document 4 Filed 11/05/18 Page 4 of 4 PageID 22



                                CERTIFICATE OF SERVICE

       I hereby certify that on November 5, 2018, I have served a copy of the foregoing

document by Notice of Electronic Filing or, if the party served does not participate in Notice of

Electronic Filing, by U.S. First Class Mail, hand delivery, facsimile or e-mail.

Kevin Rajabalee, Esq.
KR Legal, P.A.
3440 Hollywood Blvd., Suite 415
Hollywood, FL 33021
Tel: 954.667.3096
Fax: 954.942.5272
Email: Kevin@krlegal.net

Attorneys for Plaintiff
Stephen Knuth



                                               /s/ Artin Betpera
                                               Artin Betpera




                                                 4

WBD (US) 44884781v1
